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DWB
AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

District of Minnesota

UNITED STATES OF AMERICA
Case No, 25-mj-306 (DTS)
V.
FILED UNDER SEAL
HIBO DAAR
CRIMINAL COMPLAINT

I, the undersigned complainant, being duly sworn, states the following is true and correct to the best of my
knowledge and belief. From at least in or about October 2020 through in or about January 2022, in the State and
District of Minnesota, and elsewhere, the defendant, HIBO DAAR, did knowingly devise and participate in a
scheme and artifice to defraud and to obtain money by means of materially false and fraudulent pretenses,
representations, and promises, and by concealment of material facts, and, for the purpose of executing this scheme,
knowingly caused to be transmitted by means of a wire communication in interstate commerce, certain writings,
signs, signals, and sounds, including a February 2021 email to recipients at Feeding Our Future with the subject
line “Fwd: AprilMealCount(Billing) Part 1,” all in violation of 18 U.S.C. § 1343.

I further state that I am an FBI Special Agent and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof: K/Yes o No

i. ae

Complainant’s signature

SUBSCRIBED and SWORN before me
by reliable electronic means (FaceTime/Zoom and
email) pursuant to Fed. R. Crim. P. 41(d)(3).

Date: May 23, 2025

City and State: MINNEAPOLIS, MN

Travis Wilmer
FBI

Printed name and title

eT Act

Judge ’s Signature ( )

The Honorable David T. Schultz
United States Magistrate Judge

Printed Name and Title
